         Case 1:15-cv-04964-LAK Document 371 Filed 01/03/18 Page 1 of 2

MorrisonCohenLLP
                                                                              Mary E. Flynn
                                                                              Partner
                                                                              (212) 735-8631
                                                                              mfl ynn@l11orri one hen.com



                                                      January 3, 2018


BY E-FILING AND HAND DELIVERY

The Honorable Lewis A. Kaplan
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, New York 10007

RE:    Yukos Capital S.A.R.L, et al. v. Feldman, No. 15 civ. 4964 (LAK) (S.D.N.Y.)

Dear Judge Kaplan:

We represent the Plaintiffs in the above-captioned action and write, per the Court's request,
regarding potential trial dates after January 31, 2018. Plaintiffs' conflicts after January 31 are as
follows:

       Week of January 29 - February 2: I am lead counsel in the arbitration 36 East 20th St.
       Realty Co. LLC v. Green 8-LLe.

       February 7 - 16: Glen Summers, co-counsel for Plaintiff Marc Fleischman, has a trial in
       the Eastern District of Texas in Sycamore IP Holdings LLC v. Verizon Communications,
       Inc.

       February 26 to March 30: Witness Thomas Walford has a trial in London and then a trial
       in Singapore at which his presence is required. Plaintiff Marc Fleischman also has a
       previously-scheduled trip out of the country from March 1 - 12. (Counsel also has brief
       conflicts on various dates within that period).

       April 23 - 24: I am lead counsel in a trial in New York Supreme Court: Highbridge
       House Ogden LLC v. Highbridge Entities LLe.

       April 16 - 27: Glen Summers, co-counsel for Plaintiff Marc Fleischman, has a trial set to
       begin on April 23, 2018 in the Eastern District of Texas in Sycamore IP Holdings LLC v.
       Teleport Communications America, LLe.

Given these conflicts and defense counsel's limited availability after February 12, Plaintiffs
respectfully request that the Court set a finn trial date for the trial to begin on or after April 30,
2018. Given the court's prior order that the trial may begin that day, we have been able to block
out the week of April 30 and the week following. Additionally, having out-of-town and overseas




909 Third Avenue, New York, NY 10022-4784 • p: 212.735.8600 • f: 212.735.8708 • www.morrisoncohen .com
        Case 1:15-cv-04964-LAK Document 371 Filed 01/03/18 Page 2 of 2

MorrisonCohenLLP
The Honorable Lewis A. Kaplan
January 3, 2018
Page 2

witnesses continuing to be on 5 days' notice for many months is proving to be difficult to
manage with their family and business commitments.


                                                 Respectfully submitted,



                                              ~ F~nn~ I~ff~
cc:   Rishi Bhandari, Esq. (counsel for Defendant) (bye-filing)
      Glen Summers, Esq. (co-counsel for Plaintiff Marc Fleischman) (bye-filing)
